
PER CURIAM.
The Supreme Court of the United States, on June 30, 1980, 448 U.S. 904, 100 S.Ct. 3044, 65 L.Ed.2d 1134, issued the following mandate in this cause:
ON WRIT OF CERTIORARI to the Supreme Court of Alabama.
THIS CAUSE having been submitted on the petition for writ of certiorari and response thereto,
ON CONSIDERATION WHEREOF, it is ordered and adjudged by this Court that the judgment of the said Supreme Court [377 So.2d 159] in this cause is vacated, and that this cause is remanded to the Supreme Court of Alabama for further consideration in light of Beck v. Alabama, 447 U.S. 625 [100 S.Ct. 2382, 65 L.Ed.2d 392] (1980).
Therefore, pursuant to the mandate of the Supreme Court of the United States, this case is remanded to the Court of Criminal Appeals for consideration in light of Beck v. Alabama, 447 U.S. 625, 100 S.Ct. 2382, 65 L.Ed.2d 392 (1980), and this Court’s decisions in Beck v. State, 396 So.2d 645 (Ala.1980); Ritter v. State, 403 So.2d 154 (Ala.1981); and Reed v. State, 407 So.2d 162 (Ala.1981).
REMANDED WITH DIRECTIONS.
All Justices concur, except MADDOX, JONES and ADAMS, JJ., who concur specially.
On remand, Ala.Cr.App., 405 So.2d 702.
